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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

       Plaintiffs,

v.                                           Case No. 3:23cv10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
DISTRICT and ESCAMBIA
COUNTY SCHOOL BOARD,

      Defendants.
_________________________________/

           ORDER GRANTING LEAVE TO AMEND COMPLAINT

      Upon due consideration of Plaintiffs’ consented-to motion for leave to file

amended complaint (Doc. 25), it is ORDERED that the motion is GRANTED, and

      1.    The Clerk shall file a copy of Doc. 25-1 as a new docket entry, titled

“Amended Complaint.”

      2.    The amended complaint is now the operative complaint.

      3.    Defendants shall have until August 21, 2023, to answer or otherwise

respond to the amended complaint. See Doc. 24.
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DONE and ORDERED this 24th day of July, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




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